                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

UNITED THERAPEUTICS                       )
CORPORATION,                              )
                                          )
              Plaintiff,                  )
                                          )
  v.                                      )   C.A. No. 20-755-RGA-JLH
                                          )
LIQUIDIA TECHNOLOGIES, INC.,              )
                                          )
              Defendant.                  )


       LIQUIDIA’S OPENING BRIEF IN SUPPORT OF MOTION FOR A STAY
           OF ENFORCEMENT OF PARAGRAPH 4 OF THE COURT’S
                    FINAL JUDGMENT PENDING APPEAL

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Dated: September 9, 2022
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I.     INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 62, Liquidia seeks a stay of enforcement of

Paragraph 4 of the Court’s Final Judgment setting the effective date of final approval of Liquidia’s

NDA to be “not earlier than the expiration date” of U.S. Patent No. 10,716,793 (“the ’793 patent”).

(D.I. 436.) On July 19, 2022, the U.S. Patent Trial and Appeal Board (“PTAB”) found all claims

of the ’793 patent unpatentable as obvious over the prior art under 35 U.S.C. § 103. (D.I. 425, Ex.

1 (“’793 FWD”).) The Court, here, reached a different conclusion concerning the validity of the

ʼ793 patent under 35 U.S.C. § 112. However, weighing the factors considered in deciding motions

to stay pursuant to Federal Rule of Civil Procedure 62, an immediate stay of enforcement of

Paragraph 4 of the Court’s Final Judgment is warranted before and during the pendency of appeal

of the PTAB’s ’793 FWD and this Court’s opinion of validity and infringement of the ’793 patent.

Liquidia is likely to succeed on appeal, and both the equities of the parties and the public interest

favor a stay.

       First, Liquidia is likely to succeed on the merits in any appeal of the PTAB’s ʼ793 FWD

of invalidity of the ʼ793 patent because the ʼ793 FWD is well-reasoned and factually supported by

an extensive record, the Federal Circuit has affirmed the PTAB on all issues in roughly 73% of all

IPR appeals since the AIA was passed, and the sole issue UTC raised in its IPR rehearing request

(challenging only one of several independent grounds the PTAB relied on to confirm the “prior

art” status of the cited references) cannot alter the PTAB’s finding of invalidity. Additionally, due

to the likelihood of Liquidia prevailing in any appeal by UTC of the ’793 FWD, Liquidia would

also be likely to ultimately succeed in any appeal on non-infringement of the ʼ793 patent as

Liquidia cannot be liable for infringement of an invalid patent. Commil USA, LLC v. Cisco Sys.,

Inc., 575 U.S. 632, 644 (2015); see also D.I. 433 at 11 n.7.
                                                 1
       Second, due to UTC’s ability to delay final resolution of the ʼ793 IPR, Liquidia will be

irreparably harmed without a stay. YUTREPIATM (formerly known as LIQ861) is Liquidia’s

flagship product, taking years to develop at considerable expense, and Liquidia will suffer

irreparable loss of goodwill with physicians and patients if they cannot gain access to

YUTREPIATM despite the invalidity of the ʼ793 patent.

       Third, UTC’s allegations of potential loss of market share and loss of consumer goodwill

are speculative, at best, contradicted by their own public statements, and belied by the absence of

any automatic substitution and resulting precipitous loss of market share because YUTREPIATM

is not a generic version of Tyvaso®.

       Finally, as discussed herein and reflected in emails from PAH patients and caregivers, the

public interest favors a stay because entry of Liquidia’s YUTREPIA™ product into the market

would offer pulmonary hypertension patients a new and improved product to treat this chronic,

life-threatening disease, and promote competition, ultimately resulting in reduced patient costs.

For the reasons presented herein, Liquidia’s requested stay of enforcement of Paragraph 4 of the

Court’s Final Judgment should be granted. 1

II.    FACTUAL BACKGROUND

       Liquidia filed its NDA for YUTREPIATM (LIQ861) on January 24, 2020. (D.I. 322-1, Ex.

1 at ¶ 2.) After Liquidia filed its NDA, and after UTC first initiated this lawsuit, the ’793 patent

issued on July 21, 2020, based on an application filed January 31, 2020, and UTC added it to this

case shortly thereafter. (Id. at ¶ 35; D.I. 16.) On August 26, 2020, UTC moved to dismiss




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  Pursuant to D. Del. LR 7.1.1, counsel for Liquidia conducted a telephonic meet and confer with
counsel for UTC on September 7, 2022 regarding the instant motion, and the parties were unable
to reach agreement.
                                                2
Liquidia’s invalidity defenses with respect to the ’793 patent based on assignor estoppel (D.I. 28),

which the Court denied, noting “determination that Defendant is in privity with a named inventor

of the ’793 patent will require a fact intensive evaluation of their relationship and a balancing of

the equities.” (D.I. 45 at 3.) Despite the Court’s denial, UTC continued to pursue its assignor

estoppel defense and included this theory in its pre-trial submissions, indicating its intent to present

this issue at trial. (D.I. 322, Ex. 4 at ¶¶ 136-140.) 2

          Because of UTC’s assignor estoppel allegations, Liquidia was faced with the risk of being

unable to present any invalidity case to this Court. As such, and because assignor estoppel does

not apply to IPR proceedings, Liquidia filed IPR2021-00406 with respect to the ’793 patent on

January 7, 2021. Arista Networks, Inc. v. Cisco Sys., Inc., 908 F.3d 792, 804 (Fed. Cir. 2018)

(“[A]ssignor estoppel has no place in IPR proceedings.”). The IPR was instituted on August 11,

2021, with the ’793 FWD expected in August 2022, after the trial here. (ʼ793 FWD at 2.)

          Expecting the ʼ793 FWD before the Court’s decision, UTC contended in the Pre-Trial

Order that IPR estoppel would apply to the ’793 patent before issuance of the ’793 FWD.

(D.I. 322-1, Ex. 4 at ¶ 146.) During the pretrial conference, the Court indicated that it would wait

for the PTAB decision and apply IPR estoppel even if Liquidia raised obviousness of the ʼ793

patent at trial. (Ex. A (Pretrial Conference Transcript) at 10-11 (“I have zero interest in racing the

PTAB to a decision here. . . . [Y]ou [Liquidia] can put your case on. There’s no guarantee that I

will actually decide it. But, and to the extent you have, of course, non, you know, 112 or defenses

or something else, you can obviously put them on because the PTAB won’t decide because they’re

not barred and PTAB won’t rule on those.”).) Following the Court’s guidance, Liquidia pursued



2
    UTC did not ultimately try the issue of assignor estoppel.
                                                   3
only written description and enablement invalidity theories with respect to the ’793 patent at trial

to avoid wasting the Court’s and parties’ time on obviousness arguments that the Court would

eventually preclude due to IPR estoppel. 35 U.S.C. § 315(e)(2). 3 Despite invalidating the claims

of the ʼ793 patent at the PTAB, Liquidia now faces an inequitable outcome precipitated by UTC’s

threat of an unfounded assignor estoppel defense—an order staying final FDA approval of

YUTREPIATM until 2027, when the belatedly issued and already invalidated ’793 patent claims

expire. (D.I. 436 at ¶ 4.) Not only, as discussed herein, do the factors weigh in favor of granting

Liquidia’s requested stay, but staying enforcement of Paragraph 4 of the Court’s Final Judgment

through appeal would promote innovation, grant patients access to a life-saving therapy, and

prevent the continued monopolization of the inhaled treprostinil market based on an invalid patent.

III.   ARGUMENT

       This Court should grant Liquidia’s motion to stay enforcement of Paragraph 4 of the Final

Judgment because Liquidia satisfies the four-factor test: (1) Liquidia is likely to succeed on the

merits on appeal; (2) Liquidia will be irreparably harmed without a stay; (3) UTC will not be

substantially injured by the stay of enforcement; and (4) the public interest supports a stay.

Standard Havens Prods., Inc. v. Gencor Indus., Inc., 897 F.2d 511, 512 (Fed. Cir. 1990). Each

factor need not be given equal weight, and the strength of one factor may diminish the showing

necessary for another. Id. at 512-13 (“The more likely the [movant] is to win, the less heavily need

the balance of harms weigh in his favor; the less likely [the movant] is to win, the more need it

weigh in his favor.”) (quoting Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 387-88 (7th

Cir. 1984)). The “four stay factors can effectively merge…[in] assess[ing] movant’s chances for


3
 The Court applied IPR estoppel to the ʼ901 patent, indicating estoppel applies to both successful
and unsuccessful IPRs. (D.I. 335 at 1-2.)
                                               4
success on appeal and weighs the equities as they affect the parties and the public.” Id. at 513

(citations and quotation marks omitted).

       Further, the four-factor test the Court applies in assessing a stay of judgment is different

from the three-factor test the Court previously applied when deciding whether to stay its decision

on the ʼ793 patent. (See D.I. 432.) There, two of the three factors pertained to simplifying issues

for trial and whether a trial date had been set. (Id.) As the Court noted, those two factors “heavily

favor denial of the stay[,]” as trial had already been completed. (Id.) Here, simplification of issues

and timing of trial are not considered. Further, the four-factor test also requires the Court to

balance the equities between the parties as well as the public interest in granting the stay,

considerations not previously evaluated in the Court’s prior decision.

       A.      THE FEDERAL CIRCUIT IS LIKELY               TO   AFFIRM    THE   PTAB’S DECISION
               INVALIDATING THE ’793 PATENT

       The PTAB’s ʼ793 FWD finding all claims of the ʼ793 patent obvious over U.S. Patent No.

6,521,212 (“the ’212 patent”) in combination with Voswinckel JESC and Voswinckel JAHA, is

based on well-reasoned factual findings reached after considering extensive briefing, expert

declarations and depositions, and oral argument. (See generally ʼ793 FWD; Ex. B (’212 Patent);

Ex. C (Voswinckel JESC); Ex. D (Voswinckel JAHA)). And on appeal, the Federal Circuit

reviews factual findings to determine if they were supported by substantial evidence. Redline

Detection, LLC v. Star Envirotech., Inc., 811 F.3d 435, 449 (Fed. Cir. 2015) (“If the evidence in

[the] record will support several reasonable but contradictory conclusions, we will not find the

Board's decision unsupported by substantial evidence simply because the Board chose one

conclusion over another plausible alternative.”) (citation omitted). That Liquidia prevailed before

the PTAB is alone sufficient to support Liquidia’s likelihood of success on appeal.


                                                  5
       The strength of the ’793 FWD, and thus Liquidia’s likelihood of success on appeal, is

further evidenced by UTC’s request for rehearing. In its request for rehearing, UTC was required

to “specifically identify all matters the party believes the Board misapprehended or overlooked,

and the place where each matter was previously addressed in a motion, an opposition, a reply, or

a sur-reply.” 37 C.F.R. § 42.71(d) (emphasis added.) UTC did not challenge the PTAB’s fact-

finding or other substantive issues addressing the issue of obviousness. That is, UTC did not

challenge the PTAB’s findings and conclusions regarding what the prior art disclosed to a POSA,

the motivation to combine the prior art with a reasonable expectation of success, nor the PTAB’s

assessment of secondary considerations. Instead, UTC identified only one matter it contends the

PTAB overlooked or misapprehended in the ʼ793 FWD—the prior art status of the two abstracts

relied on by Liquidia: Voswinckel JESC and Voswinckel JAHA. (See generally Patent Owner’s

Request for Rehearing, IPR2021-00406, Paper 79 (P.T.A.B. Aug. 18, 2022) (Ex. E).)

       Even there, however, UTC only challenged one of three independent reasons the PTAB

relied upon to confirm the public accessibility of the cited prior art. The PTAB found both

abstracts were published (and thus publicly available) in major pulmonary hypertension journals

(Journal of the European Society of Cardiology and Journal of American Heart Association) over

a year before the critical date (May 15, 2006). (ʼ793 FWD at 3 nn.4-5.) The PTAB also held that

the abstracts were publicly presented at major pulmonary hypertension conferences (European

Society of Cardiology Congress and Scientific Sessions of the American Heart Association) in

2004. (Id. at 9.) Finally, the PTAB found that both abstracts were expressly cited in “research

aid” publications available before May 2006, further establishing the public availability of the

abstracts before the critical date. (Id. at 10-11 (discussing “research aids” citing Voswinckel JESC

and Voswinckel JAHA).) This third and final ground for finding public accessibility (research
                                                 6
aids) is the only basis for UTC’s rehearing request and, as such, even if considered by the PTAB,

will not change the outcome of the ʼ793 FWD. (See generally Ex. E.) Nonetheless, the PTAB’s

factual findings concerning the public accessibility of the two Voswinckel abstracts are well-

supported by substantial evidence. (ʼ793 FWD at 8-12.)

       Liquidia’s likelihood of success on any appeal of the ’793 FWD is further supported by

recent statistics from the Federal Circuit. (Ex. I, Daniel F. Klodowski et al., Federal Circuit PTAB

Appeal Statistics Through April 30, 2022 (May 31, 2022).) In IPR appeals through April 30, 2022,

the Federal Circuit affirmed the PTAB on every issue in 708 (72.76%) cases. (Id.) In sum,

Liquidia is very likely to prevail in any UTC appeal of the ’793 FWD.

       Courts in similar positions, where a PTO proceeding implicated the moving party’s

likelihood of success, have granted motions to stay entry of judgment. Standard Havens and

DuPont are highly informative where conflicting views on the validity of an asserted patent

between the district court and PTO warranted stays of injunctions on appeal. In Standard Havens,

after the district court entered judgment in favor of the patent holder, the alleged infringer appealed

and moved for a stay pending appeal.          Standard Havens, 897 F.2d at 511.          Because the

Commissioner ordered reexamination of the asserted patent during pendency of the litigation, the

Federal Circuit found that the accused infringer met the likelihood of success standard and that the

balance of the harms tipped in its favor. Id. at 514-15. In DuPont, the reissue application for the

asserted patent was rejected by the Patent Office, but the asserted patent was found valid and

infringed by the district court. E.I. Dupont de Nemours & Co. v. Phillips Petroleum Co., 835 F.2d

277, 278-79 (Fed. Cir. 1987). Because of the “substantial legal questions” raised by the conflict

between the Patent Office and district court, the Federal Circuit issued a stay of the permanent

injunction pending appeal. Id. Here, consistent with Federal Circuit case law, the different
                                                  7
opinions between this Court and the PTAB concerning the validity of the ʼ793 patent support the

grant of a stay of enforcement of judgment. 4 These decisions further confirm that a final decision

from a patent office proceeding is not needed to assess likelihood of success on appeal—collateral

estoppel is not part of and not necessary for the Court’s evaluation of the four-factor test here.

       Finally, due to Liquidia’s likelihood of success in any UTC ʼ793 FWD appeal, Liquidia is

also likely to succeed on appeal of this Court’s opinion on infringement of the ʼ793 patent. This

is because if the ’793 FWD is affirmed on appeal, rendering final the invalidity of that patent,

Liquidia cannot be liable for induced infringement. 5 See Commil, 575 U.S. at 644.

       B.      LIQUIDIA WILL BE IRREPARABLY HARMED ABSENT A STAY

       Absent a stay, Liquidia will be irreparably harmed because Liquidia’s first NDA product,

YUTREPIATM, will not enter the market until at least all appeals of the ’793 IPR have been

exhausted, a timeline UTC controls. Standard Havens, 897 F.2d at 512 (listing “whether the

applicant will be irreparably injured absent a stay” as factor to stay judgment). YUTREPIATM is

Liquidia’s lead investigational product, developed using its proprietary PRINT® technology and

received tentative approval from the FDA on November 8, 2021. 6                Liquidia is a small

biopharmaceutical company based in North Carolina consisting of roughly 50 employees. 7 As

such, being able to market its YUTREPIATM product is especially urgent for a small company like

Liquidia. In contrast, UTC has multiple products on the market and receives over a billion dollars




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  Granting a stay of judgment would not contravene this Court’s trial opinion because the Court
addressed different issues of validity than those raised before the PTAB.
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  As previously presented, Liquidia does not concede that a final decision of invalidity on appeal
from the PTAB is required to negate the specific intent element of induced infringement under 35
U.S.C. § 271(b).
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  Ex. J, Liquidia Corporation, Form 10-K (Mar. 17, 2022) at 4, 7.
7
  Id. at 14.
                                                  8
in yearly revenue from its treprostinil drug estate. 8 Further, Liquidia’s goodwill with prescribing

doctors and patients will be irreparably harmed in the absence of stay of enforcement of Paragraph

4 of this Court’s Judgment because of their expectation and desire to use this life-saving drug. In

other words, Liquidia stands to suffer a much greater injury—one that cannot be adequately

quantified or compensated—if a stay is not granted than UTC would suffer if a stay is granted.

       The irreparable harm suffered by Liquidia is further exacerbated by UTC’s efforts to

prolong the ’793 FWD appeal. UTC filed its request for rehearing of the PTAB’s ’793 FWD, a

request that cannot impact the PTAB’s ultimate decision on invalidity, on August 18, 2022, and a

decision from the PTAB has not yet issued.9 Although the PTAB “envisions” that requests for

rehearing will be decided in “approximately one month[,]” 10 the one-month goal is rarely achieved

because “[n]o statute or rule establishes a time limit for the Board to decide a request for

rehearing.” (Ex. M, Tom Owens, PTAB Usually Misses the One-Month Pendency Goal for

Requests for Rehearing (Oct. 6, 2016).) 11 The Federal Circuit has expressed significant frustration

over the PTAB’s delay in deciding rehearing requests. 12



8
  Ex. K, United Therapeutics Corporation, Form 10-K (Feb. 24, 2022) at 52.
9
  If the rehearing is denied, UTC will have 63 days from the PTAB’s decision on rehearing to file
its notice of appeal. 37 C.F.R. § 90.3(b)(1).
10
   Ex. L, PTAB Consolidated Trial Practice Guide (Nov. 2019) at 90.
11
   Mansinghani et al. found that in 2017, the average time for the PTAB to issue a rehearing
decision after a FWD was 117.63 days from the rehearing request. (See Ex. G, Roshan S.
Mansinghani et al., Tracking Successful Requests for Rehearing in Inter Partes Review, 11
LANDSLIDE 39, 40 (2018).)
12
   Ex. H, Oral Argument Transcript, BTG Int’l Ltd. v. Amneal Pharms. LLC, No. 2019-1147 (Fed.
Cir. Mar. 14, 2019) at 32:23-33:8 (“The Board issued all three IPRs in the final written decision
in January of 2018. . . . I can think of [no] good reason the Board lollygagged and took 10 full
months before it issued its—the [re]hearing decisions in December of 2018.”), 34:22-35:1
(“Wouldn’t that seem to significantly undermine Congress’ goal to have an expeditious and fully
resolved IPR proceeding within the PTO to avoid unnecessary duplicative district court
litigation?”).
                                                 9
       The IPR proceeding for U.S. Patent No. 9,604,901, which UTC previously asserted against

Liquidia (and then stipulated to non-infringement) in this litigation, demonstrates the delay that

Liquidia will have to suffer should this Court not stay enforcement of Paragraph 4 of the Court’s

Final Judgment. In the ’901 IPR, the PTAB issued its FWD on October 8, 2021. (D.I. 205.)

Thereafter, UTC filed a request for rehearing on November 8, 2021, and the Board denied UTC’s

request for rehearing June 14, 2022—i.e., over 7 months after the FWD issued.                Liquidia

Technologies, Inc. v. United Therapeutics Corp., IPR2020-00770, Paper 49 (P.T.A.B. June 14,

2022) (Ex. F). It was not until August 15, 2022 that UTC filed its notice of appeal to the Federal

Circuit for the PTAB’s ’901 IPR decision. UTC was able to prolong filing its appeal to the Federal

Circuit in the ’901 IPR for nearly a year after the PTAB’s FWD and appears to be pursuing the

same delay strategy for the ʼ793 patent, whether it is likely to succeed or not. As a result, UTC

would achieve its goal of extending its exclusivity over the inhaled treprostinil market based on an

invalid patent, and irreparably harm Liquidia.

       C.      STAYING PARAGRAPH 4 OF THE COURT’S FINAL JUDGMENT WOULD NOT
               SUBSTANTIALLY INJURE UTC

       UTC alleged in its August 26, 2022 letter that a stay of issuance of the Court’s decision on

the ʼ793 patent would result in “potential for loss of market share and an erosion of goodwill.”

(D.I. 431 at 2 (quoting AgroFresh Inc. v. Essentiv LLC, No. 16-CV-662, 2019 WL 2327654, at *3

(D. Del. May 31, 2019)).) With respect to the “potential for loss of market share,” UTC’s position

ignores the fact that YUTREPIATM is not a generic drug. Unlike traditional generic drugs,

pharmacists will not automatically substitute Liquidia’s YUTREPIATM for UTC’s Tyvaso® or

Remodulin®. And even if YUTREPIA™ was a generic of UTC’s Tyvaso® or Remodulin®, it is

speculative as to whether the requested stay would result in a loss of sales. In discussing the launch


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of generic competition to UTC’s Remodulin® product, UTC has repeatedly touted the lack of an

impact on UTC’s sales. During UTC’s March 31, 2021 JPMorgan Napa Valley Forum, its Chief

Medical Officer, Gil Golden, stated that even upon entry of generic Remodulin®, “there’s been

essentially no impact of the generic Remodulin on current Remodulin prescriptions.” (Ex. U at 5

(highlighted portion).) Going even further, Michael Benkowitz, UTC’s President and COO stated

in November 2021 that UTC continues “to be very pleased with the performance and resilience of

Remodulin over the past several years as generic competition has entered the market[,]” going so

far as to point out that even with generic Remodulin, “we see no change there. And in fact, in

some months, some quarters, we’ve actually seen some uptick.” (Ex. V at 3, 8 (highlighted

portion).) Clearly, even upon generic competition, UTC does not foretell a loss of market share.

       Additionally, UTC has made public statements specific to YUTREPIA™ that run counter

to their allegations of loss of market share. For instance, when discussing the potential launch of

Liquidia’s YUTREPIATM, Mr. Benkowitz noted that it was not a “zero-sum game,” but instead

there are “tens of thousands of patients that are out there for [UTC] and other competitors.” (Id.

at 7 (highlighted portion).) At the December 2021 JEF Virtual Denver Health Care Conference,

Jefferies discussed Q4 2021 expectations with Michael Benkowitz (President & COO), James

Edgemond (CFO & Treasurer), and Dewey Steadman (Head of IR), and UTC confirmed, with

respect to YUTREPIA™/LIQ861, that “there is room in the space for more than one competitor.”

(Ex. W at 1 (highlighted portion).) These public statements do not warn of a potential loss of

market share, but instead indicate the market is large enough for Liquidia’s entry. Accordingly,

any argument by UTC that it will suffer significant market share or revenue loss if Liquidia’s stay

is granted is, therefore, incorrect at worse, speculative at best, and inconsistent with their own

public statements.
                                                11
         Finally, UTC’s potential loss of market share argument overlooks tactics it used to build

its market share for its suite of treprostinil products. In particular, the Department of Justice

initiated a “Kickback” investigation against UTC and its use of a 501(c)(3) organization from

2010-2014 13 to reimburse Medicare patients for the co-pays they incurred purchasing UTC’s

treprostinil products, which is a prohibited act. (Ex. T.) Acting United States Attorney William

D. Weinreb stated that “UT used a third party to do exactly what it knew it could not lawfully do

itself,” and “the third-party foundation used UT’s money to cover the co-pays of patients taking

UT drugs. UT’s payments to the foundation were not charity for PAH patients generally, but rather

were a way to funnel money to patients taking UT drugs.” (Id.) UTC settled the DOJ claim for

$210M. (Id.) Because there is no non-UTC inhaled treprostinil therapy on the market today, UTC

has been able to maintain this previously developed market share. As such, there is no basis for

UTC to assert that it will suffer injury if the Court stays enforcement of Paragraph 4 of the Court’s

Final Judgment.

         To the extent there is any loss of market share or revenue (i.e., lost sales), UTC’s loss can

be readily compensated by monetary damages. In the context of the 30-month stay, Congress

recognized that “in the event that the FDA approves a generic because of the expiration [of the

stay] without a court decision, and it is later determined that the patent is valid” that the “patent

holder is nonetheless protected” because “the patent owner may still recover damages from the

generic [manufacturer].” Bayer Schera Pharma AG v. Sandoz, Inc., No. 08-CV-03710, 2010 WL

3447906, at *3 (S.D.N.Y. Sept. 2, 2010) (quoting H.R. Rep. No. 98-857, Part II at 9 (1984)). That

rationale applies equally if not more so here because UTC is “nonetheless protected” even in the



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     Tyvaso® was FDA approved in 2009.
                                                  12
unlikely event that UTC succeeds in an appeal of the ’793 FWD at the Federal Circuit. And if

monetary damages can protect a company like UTC from generic entry and automatic substitution,

that “protection” is even greater here where YUTREPIATM is a branded product without automatic

substitution.

       UTC’s contention that it will suffer a loss in consumer goodwill also overlooks that

Liquidia’s YUTREPIATM product materially differs from UTC’s Tyvaso® product. Specifically,

Liquidia’s YUTREPIATM product represents an improvement to patient care, utilizing a different

route of administration (dry powder inhaler) and proprietary formulation developed using

Liquidia’s PRINT® process.        (Ex. N, Tr. 711:12-20 (Hill); Tr. 717:25-718:25, 722:10-19

(Gonda).) Because consumers will not mistake Liquidia’s YUTREPIATM for UTC’s Tyvaso® or

Remodulin® products, and Liquidia’s product represents an improvement for patients, UTC does

not stand to suffer an erosion of consumer goodwill from staying entry of judgment with respect

to the ’793 patent. Further, in public statements, UTC has recognized the “brand loyalty” for its

products, specifically noting with respect to Remodulin® that, even in light of generic competition,

UTC had “growth ahead of [it] over the long term with Remodulin.” (Ex. X at 8 (highlighted

portion).) And to the extent UTC did not lose consumer goodwill in light of generic competition

and the DOJ kickback investigation and subsequent settlement, it is unlikely that granting

Liquidia’s requested stay would significantly impact UTC’s consumer goodwill.              And, as

discussed above, the loss of consumer goodwill is starker for Liquidia than UTC—UTC is the

market incumbent and has held that position for more than a decade with multiple treprostinil

products.

       On balance, Liquidia will suffer more immediate and non-compensable harm from the

denial of a stay than UTC will suffer from the grant of a stay, and these factors weigh in favor of
                                                13
granting the requested stay.

       D.      STAY OF JUDGMENT FAVORS THE PUBLIC INTEREST

       Public interest favors Liquidia’s motion to stay. A stay of enforcement of Paragraph 4 of

the Court’s Final Judgment would benefit the public by providing a new and improved product for

treatment of pulmonary hypertension with inhaled treprostinil. In recent studies, researchers found

that “[t]he favorable safety profile and patient preference ratings as well as the exploratory efficacy

analyses suggest that the profile of Yutrepia represents an important advance in inhaled

prostacyclin therapy for patients with PAH either in the setting of transitioning from current

nebulized prostacyclin therapy or the initiation of therapy.” (Ex. O, Nicholas S. Hill et al.,

INSPIRE: Safety and tolerability of inhaled Yutrepia (treprostinil) in pulmonary arterial

hypertension (PAH), 12 PULMONARY CIRCULATION e12119, *9 (2022) (“The administration of

Yutrepia with an easy-to-use dry-powder inhaler offers clinicians an inhaled PAH therapy that

may be preferred by many patients based on its added convenience and potential to facilitate a

more active lifestyle.”).) Additionally, in assessing Quality of Life (QoL) in PAH patients who

either started on YUTREPIATM (naïve) or transitioned from Tyvaso®, clinically meaningful

physical and emotional improvements in QoL were seen based on the Minnesota Living With

Heart Failure Questionnaire. (Ex. P (INSPIRE Trial Poster).) The authors concluded that

“[t]reatment with LIQ861 may help improve HRQoL, which has been shown to be impaired in

PAH patients.”     (Id.)   Because Liquidia’s YUTREPIATM product is an improvement, both

therapeutically and in QoL, for treatment of pulmonary hypertension (and not just a generic copy),

the public interest is served by a stay of enforcement of Paragraph 4 of the Court’s Final Judgment.

Indeed, granting the stay would not only benefit PAH patients clinically, but also ultimately lead

to lower drug costs resulting from having therapeutic options that are not controlled by a single
                                                  14
company.

       The interested public has expressed their desire for YUTREPIATM. Given its size, the PAH

patient community is well-informed on the availability of new treatments for their disease and are

advocating for access to YUTREPIATM to “‘live’ a quality life,” because they “have very few

[drugs] and not every one works for every patient.” (Ex. Y.) One PAH patient put the issue into

perspective in terms of the number of expected deaths due to PAH that may occur during the

pendency of the appeals. (Ex. Q (“There are approximately 40,000 people in the U.S. with PAH.

The average three-year death rate of this disease is 21%. This means that in the three years that

Yutrepia will have been caught up in litigation, 8,400 people will die from PAH.”).) And a nurse

and PH Support Group Leader treating PH patients for 20 years wants access to YUTREPIATM for

her patients “as the more treatment options available, the more it brings HOPE to these patients

that are dealing with this horrible disease.” (Ex. Z.) These communications from PAH patients

and caregivers demonstrate the strong public interest in obtaining access to YUTREPIATM because

of the drug’s ability to improve patient treatment, quality of life, and convenience over existing

therapies and further supports a stay. 14

       Further, to the extent UTC contends that enforcing the invalid ’793 patent during the

pendency of the IPR appeal promotes innovation, UTC has already held exclusive patent rights

over treatment of pulmonary hypertension with inhaled treprostinil for the past two decades. 15

UTC first patented treatment of pulmonary hypertension with an inhaled powder of treprostinil


14
   UTC touts that it is the “first publicly-traded biotech or pharmaceutical company to take the form
of a public benefit corporation (PBC)[,]” which is designed to benefit the public in some way. (See
Ex. R.) By seeking to enforce an injunction on Liquidia based on a patent that has already been
found to be invalid, UTC’s actions run counter to the PBC mission it presents publicly.
15
   UTC first acquired the patents “covering the use of treprostinil for PAH” from GlaxoSmithKline
PLC in January 1997. (Ex. S, United Therapeutics Corporation, Form 10-K (Feb. 25, 2016) at 15.)
                                                    15
with the ’212 patent. (’212 Patent (Ex. B) at claims 6 and 9 (“6. A method for treating pulmonary

hypertension in a mammal comprising delivering to said mammal an effective amount of UT-15

or its pharmaceutically acceptable salt or ester by inhalation.” “9. The method of claim 6, wherein

said UT-15 is inhaled in powder form comprising particles less than 10 micrometers in

diameter.”).) 16 The ’212 patent expired in March 2019—approximately 2.5 years ago. To date,

no treatment of pulmonary hypertension with inhaled treprostinil has been finally approved by any

company other than UTC. The application leading to the ʼ793 patent was filed after Liquidia filed

its NDA for YUTREPIATM and the PTAB has already held every claim of the ’793 patent

unpatentable as obvious. Thus, protecting the ’793 patent during the pendency of the ’793 FWD

appeal does nothing more than quell innovation and withhold Liquidia’s life-saving drug from the

pulmonary hypertension patient population.

IV.    CONCLUSION

       For at least the reasons set forth above, Liquidia respectfully requests that this Court stay

enforcement of Paragraph 4 of the Court’s Final Judgment during pendency of the ’793 patent

appeals. Liquidia further requests that, during the pendency of this stay, no order shall be provided

to the U.S. Food and Drug Administration setting the approval date of Liquidia’s NDA for not

earlier than the expiration date of the ’793 patent.




16
  UTC’s ʼ212 patent was one of the primary references relied upon by the PTAB in rendering the
claims of the ʼ793 patent invalid for obviousness. (ʼ793 FWD at 46.)
                                                16
                                               Respectfully submitted,

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Dated: September 9, 2022




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